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                                      UNITED STATES
                          SECURITIES AND EXCHANGE COMMISSION
                                               100 F Street, NE
                                             Washington, DC 20549


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ENFORCEMENT                                                                        Tel: 202-551-4414
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                                          July 14, 2023

VIA ECF
The Honorable Edgardo Ramos
United States District Judge
Thurgood Marshall U.S. Courthouse
40 Foley Square
New York, NY 10007

       Re:     SEC v. Sun, et al., Case No. 1:23-cv-02433-ER (S.D.N.Y.)

Dear Judge Ramos:

         Plaintiff Securities and Exchange Commission (the “SEC”) respectfully submits this
letter regarding the status of service on Defendants Justin Sun (“Sun”) and the Tron Foundation
Limited (the “Tron Foundation”). On July 11, 2023, the SEC submitted a pre-motion letter
seeking leave to file a motion for service by alternative means on Sun and the Tron Foundation.
See ECF No. 27. On July 12, 2023, the Court entered an Order waiving the pre-motion
conference and directing the SEC to file its motion by July 19, 2023. See ECF No. 28.

        The next day, July 13, 2023, Sun agreed to waive service of a summons. See ECF No.
29. Sun is represented in this case by Fenwick & West (“Fenwick”), the same firm that
represents Defendants BitTorrent Foundation Ltd. (“BitTorrent Foundation”), and Rainberry,
Inc. (“Rainberry”). The SEC’s counsel and Fenwick have agreed that Sun may respond to the
Complaint on the same date as BitTorrent Foundation and Rainberry – September 20, 2023. See
ECF No. 22.

       On July 14, 2023, the SEC’s counsel and Fenwick conferred regarding service on the
Tron Foundation. Fenwick explained that they are working through certain issues regarding the
Tron Foundation but, assuming those issues are resolved, Fenwick will waive service of a
summons for the Tron Foundation as well.

       In light of the foregoing developments, it is no longer necessary, at this time, to brief a
motion for alternative service on Sun and the Tron Foundation. Therefore, the SEC respectfully
withdraws without prejudice its request to file the motion for alternative service on Sun and the
Tron Foundation.
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                                    Respectfully submitted,

                                    /s/ Timothy K. Halloran
                                    Timothy K. Halloran

cc:   Counsel of Record (via ECF)




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